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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
      Plaintiff,                                )
                                                )
                    v.                          )     No.   4:22-mc-00942 NAB
                                                )
ONE (1) 2010 AUDI Q7,                           )
VIN: WA1DVBFE1AD007416;                         )
                                                )
ONE (1) 2012 PORSCHE PANAMERA,                  )
VIN: WP0ZZZ97ZDL000624;                         )
                                                )
ONE (1) 2011 BMW X5,                            )
VIN: 5YMEY0C58BLK26603; and                     )
                                                )
ONE (1) 2022 STEALTH TITAN                      )
TRAILER, VIN: 52LBE1427PE096681,                )
                                                )
      Defendants.                               )

       MOTION TO EXTEND TIME TO FILE COMPLAINT FOR FORFEITURE

      Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri, and Stephen Casey, Assistant United

States Attorney for said District, and respectfully moves this Court to extend the time in which

the United States is required to file a verified complaint for forfeiture and in support of its

Motion states as follows:

         1.        On July 3, 2022, the following defendant property was seized from James

Stevens:

                   a. 2010 Audi Q7, VIN: WA1DVBFE1AD007416;

                   b. 2012 Porsche Panamera, VIN: WP0ZZZ97ZDL000624;

                   c. 2011 BMW X5, VIN: 5YMEY0C58BLK26603; and

                   d. 2022 Stealth Titan Trailer, VIN: 52LBE1427PE096681.
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        2.         All of the written notice of intent to forfeit required by Title 18, United States

Code, Section 983(a)(1)(A) to be sent by the Department of Homeland Security to interested

parties has been sent.

        3.     The time has expired for any person to file an administrative claim to the property

under Title 18, United States Code, Section 983(a)(2)(A)-(E).

        4.      The only person to file an administrative claim to the defendant property with the

Department of Homeland Security is James Stevens on August 15, 2022.

        5.      Title 18, United States Code, Section 983(a)(3)(A) provides as follows:

                  Not later than 90 days after a claim has been filed, the Government shall file a
                  complaint for forfeiture in the manner set forth in the Supplemental Rules for
                  Certain Admiralty and Maritime Claims or return the property pending the
                  filing of a complaint, except that a court in the district in which the complaint
                  will be filed may extend the period for filing a complaint for good cause
                  shown or upon agreement of the parties.

        6.      Title 18, United States Code, Section 983(a)(3)(B) also provides that the United

States may maintain possession of the property by filing criminal charges within the relevant

time frame.

        7.      Accordingly, absent an order extending its time, the United States must either file

a civil complaint for forfeiture of the above-captioned property or file criminal charges on or

about November 13, 2022.

        8.      The United States has an ongoing criminal investigation regarding the conduct

giving rise to the forfeiture of the property. If a civil complaint is filed, any discovery in a civil

case would impede the Government’s ability to conduct its ongoing criminal investigation and

would also create a burden on the claimant’s right against self-incrimination. Should the

property be returned to the claimant there would be no assurance that the property would be

available as evidence in any subsequent court proceedings.
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       9.      The requested extension is in the interest of justice insofar as it avoids the need

for duplicative actions and thereby conserves judicial and other governmental resources.

       10.     A proposed order is included herewith for the Court’s consideration.

     WHEREFORE, for the foregoing good cause, the Government respectfully requests that

the Court extend the period in which the United States is required to file a Complaint against the

property and/or to return criminal charges until February 11, 2023.

Dated: November 2, 2022                              Respectfully submitted,

                                                     SAYLER A. FLEMING
                                                     United States Attorney


                                                      /s/ Stephen Casey
                                                      STEPHEN CASEY, #58879(MO)
                                                      Assistant United States Attorney
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                                                      Saint Louis, Missouri 63102
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                                CERTIFICATE OF SERVICE

      I hereby certify that on November 2, 2022, a copy of the foregoing was sent via first-class
mail, postage prepaid and addressed to the following:

James Stevens
1060 Kennett St.
Desoto, MO 63020

John T. Davis
Attorney for Claimant
KesslerWilliams LLC
1401 South Brentwood Blvd., Suite 950
St. Louis, MO 63144

/s/ Stephen Casey
STEPHEN CASEY, #58879(MO)
Assistant United States Attorney
